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10

11                               IN THE UNITED STATES DISTRICT COURT

12                            FOR THE EASTERN DISTRICT OF CALIFORNIA

13                                          SACRAMENTO DIVISION

14

15
       RALPH COLEMAN, et al.,                                   2:90-cv-00520 LKK JFM P
16
                                    Plaintiffs, DECLARATION OF CHRIS MEYER IN
17                                              SUPPORT OF MOTION TO
                 v.                             TERMINATE UNDER THE PRISON
18                                              LITIGATION REFORM ACT [18 U.S.C §
                                                3626(b)] AND TO VACATE THE
19     EDMUND G. BROWN JR., et al.,             COURT’S JUDGMENT AND ORDERS
                                                UNDER FEDERAL RULE OF CIVIL
20                                Defendants. PROCEDURE 60(b)(5)

21
               I, Chris Meyer, declare:
22
              1.      I am the Director of the Facility Planning, Construction and Management Division
23
       for the California Department of Corrections and Rehabilitation (CDCR). I am competent to
24
       testify to the matters set forth in this declaration and if called upon to do so, I would and could so
25
       testify. I make this declaration in support of Defendants’ Motion to Terminate Under the Prison
26
       Litigation Reform Act (PLRA) [18 U.S.C. § 3626(b)] or Alternatively to Vacate the Court’s
27
       Judgment and Orders Under Federal Rule of Civil Procedure 60(b)(5). This declaration is also
28
                                                            1
                          C. Meyer Decl. in Supp. Defs.’ Mot. to Terminate Under PLRA and Fed. R. Civ. Proc. 60(b)(5)
                                                                                        (2:90-cv-00520 LKK JFM P)
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 1     submitted in support of Defendants’ Motion to Vacate or Modify the Court’s Population
 2     Reduction Orders filed concurrently with Defendants’ motion to terminate.
 3            2.      I began working for CDCR in 2009. I work on healthcare projects on behalf of
 4     and at the direction of CDCR Secretary Beard and the Plata Federal Receiver, Clark Kelso. In
 5     my current role as Director, I am responsible for the management and oversight of the Facility
 6     Planning, Construction and Management Division, which includes all construction of new
 7     facilities and renovation of existing facilities. I am familiar with the status of the numerous
 8     construction, conversion, and renovation projects that the State has completed and is currently
 9     undertaking to meet the medical and mental health needs of the State’s inmates.
10            3.      At San Quentin State Prison, the State constructed the San Quentin Central Health
11     Services Facility, a five-story, $128.3 million, 135,000 square foot correctional health care center.
12     The facility includes a Mental Health Crisis Bed unit, which was activated on November 19,
13     2009. True and correct copies of photographs depicting the San Quentin Central Health Services
14     Facility are attached as Exhibit 1.
15            4.      The State constructed health care facility improvements costing approximately $18
16     million at Avenal State Prison including three new general population clinics, one administrative
17     segregation unit clinic, an administration building, along with renovating existing buildings for
18     support functions including pharmacy, which was activated in December 2009. True and correct
19     copies of photographs depicting this facility are attached as Exhibit 2.
20            5.      The new $840 million California Health Care Facility in Stockton, is a 1.2 million
21     square foot facility that will provide 1,722 beds, of which 1,622 will be specially designed to
22     house inmates requiring long-term medical care and intensive mental health care. The first
23     inmate admission is scheduled for July 22, 2013. Completion of the mental health inmate
24     admissions is expected by December 31, 2013. True and correct copies of photographs showing
25     the construction of the California Health Care Facility are attached as Exhibit 3.
26            6.      The $167 million Dewitt Nelson Correctional Annex project will add 1,133 beds,
27     of which 953 will be health care beds, and will be connected to the California Health Care
28     Facility, allowing the efficient transition of inmates between the two facilities. The State expects
                                                          2
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 1     the Dewitt Nelson Correctional Annex project to open with the first inmate admission on
 2     February 17, 2014 and to be fully occupied by May 31, 2014. True and correct copies of
 3     photographs showing the construction of this facility are attached as Exhibit 4.
 4            7.      The $23.8 million project to construct treatment and office space for the existing
 5     Enhanced Outpatient Program serving the general population at California Medical Facility will
 6     be complete this month with a phased building activation expected to start the week of January 7,
 7     2013. True and correct copies of photographs showing the construction of this treatment and
 8     office space are attached as Exhibit 5. The State also converted a general population dormitory
 9     into a 72-bed Outpatient Housing Unit at a cost of approximately $725,000. This conversion
10     added examination rooms, nurses’ stations, a medication dispensary, and a general storage room.
11     Patient admissions began on August 16, 2010. The State also built a $33.7 million 64-bed
12     Intermediate Care Facility, which began admitting patients in February 2012. In addition, the
13     State constructed a $29.8 million 50-bed Mental Health Crisis Bed facility, which was completed
14     in May 2008 and renovated (at a cost of $1.8 million) 124 cells for risk mitigation. True and
15     correct copies of photographs showing the Intermediate Care Facility and the Mental Health
16     Crisis Bed Unit are attached as Exhibits 6 & 7.
17            8.      The State built a 64-bed Intermediate Care Facility and additional treatment space
18     at Salinas Valley State Prison at a cost of $29.5 million. This Facility was completed in June
19     2009. True and correct copies of photographs depicting the 64-bed Intermediate Care Facility are
20     attached as Exhibit 8. In addition, the $19.7 million project to construct treatment and office
21     space for 300 Enhanced Outpatient Program-General Population inmates is under construction
22     with construction completion and building activation scheduled for September 2013.
23            9.      I have reviewed information that identifies a project that the State built at a cost of
24     approximately $1.7 million to provide additional treatment and office space for Enhanced
25     Outpatient Program-General Population inmates at Mule Creek State Prison. This information
26     indicates that treatment in the new space started in March 2009. True and correct copies of
27     photographs showing this treatment space are attached as Exhibit 9.
28            10.     The 50-bed Mental Health Crisis Bed project at California Men’s Colony with an
                                                      3
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 1     estimated project cost of $38.7 million is under construction with inmate admission to start
 2     between July and October 2013. True and correct copies of photographs showing this facility are
 3     attached as Exhibit 10.
 4            11.     I have reviewed information that identifies the State expanded, between September
 5     and November of 2012, the Level II Sensitive Needs Yard Enhanced Outpatient Program by an
 6     additional 88 beds at the Substance Abuse Treatment Facility. These beds were fully occupied by
 7     November 9, 2012.
 8            12.     The 45-bed Psychiatric Inpatient Program for female inmates at California
 9     Institution for Women (at a cost of $36.3 million) began admitting patients on July 3, 2012. In
10     addition, the State constructed a $7.2 million 20-bed Psychiatric Services Unit facility at this
11     institution. True and correct copies of photographs depicting these facilities are attached as
12     Exhibits 11 & 12.
13            13.     The State substantially completed construction of the project at California State
14     Prison, Los Angeles County (at an estimated project cost of $11.5 million) to add treatment and
15     office space to service 150 Enhanced Outpatient Program-General Population inmates on June 11,
16     2012. However, this project is being rescoped to provide treatment and office space for 100
17     Enhanced Outpatient Program-Administrative Segregation Unit inmates. The State has requested
18     the State Public Works Board to recognize this scope change at its January 14, 2013 meeting.
19     True and correct copies of photographs showing this facility are attached as Exhibit 13.
20            14.     The $10.7 million project to construct treatment and office space for the Enhanced
21     Outpatient Program-Administrative Segregation Unit program at California State Prison,
22     Corcoran, is under construction. The project was delayed after inmate workers became
23     unavailable due to a prison riot and lockdown. Treatment in this space is now scheduled to start
24     on June 3, 2013. True and correct copies of photographs showing this unit are attached as Exhibit
25     14.
26            15.     The State built office and treatment space to serve the needs of the Enhanced
27     Outpatient Program population at California State Prison, Sacramento at a project cost of $12.2
28     million. The prison activated the office and treatment space on March 19, 2012. In addition, the
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 1     project at this institution to construct housing, treatment and office space for the 128 Psychiatric
 2     Services Unit inmates (at a project cost of $15.4 million) is under construction but, due to weather
 3     and changed site conditions, will not be activated until July 2, 2013, with inmate admissions
 4     starting on August 1, 2013. True and correct copies of photographs depicting the construction of
 5     this facility are attached as Exhibit 15.
 6             16.     In October 2012, the State Public Works Board established a health care facility
 7     improvement project at Richard J. Donovan Correctional Facility. This project includes, among
 8     other improvement projects, a sub-project to design and construct a new Administrative
 9     Segregation Unit Primary Care and Administrative Segregation Unit Enhanced Outpatient
10     Program Mental Health Clinic for inmates housed in Facility B at the prison.
11             17.     On December 14, 2012, the State Public Works Board established a health care
12     facility improvement project at Mule Creek State Prison. This project includes, among other
13     improvement projects, a sub-project to design and construct a new Administrative Segregation
14     Unit Primary Care and Administrative Segregation Unit Enhanced Outpatient Program Mental
15     Health Clinic for inmates housed in Facility C at the prison.
16             18.     The State expects to seek State Public Works Board establishment of a health care
17     facility improvement project at California Men’s Colony in February 2013. This project includes,
18     among other improvement projects, a sub-project to design and construct a new Administrative
19     Segregation Unit Primary Care and Administrative Segregation Unit Enhanced Outpatient
20     Program Mental Health Clinic for inmates housed in the East Facility at the prison.
21             I declare that the foregoing is true and correct. Executed this 4th day of January, 2013, at
22     Sacramento, California.
                                                           /s/ Chris Meyer
23                                                         (original signature retained by attorney)
                                                            ______________________________
24                                                                CHRIS MEYER
       CF1997CS0003
25

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                                                            5
                          C. Meyer Decl. in Supp. Defs.’ Mot. to Terminate Under PLRA and Fed. R. Civ. Proc. 60(b)(5)
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                   INDEX OF EXHIBITS TO MEYER DECLARATION

Exhibit No.   Description                                                            Bates No.

Exhibit 1     Photographs depicting the San Quentin Central Health Services
              Facility.

              Treatment Space - December 19, 2012                                    2
              Emergency Room Space - December 19, 2012                               3
              Exam Room - December 19, 2012                                          4
              Treatment Corridor - December 19, 2012                                 5
              Group Treatment Room - December 19, 2012                               6
              Nurses Station - December 19, 2012                                     7
              Conference Room - December 19, 2012                                    8

Exhibit 2     Photographs depicting Avenal State Prison health care facility
              improvements.

              Exam Room - December 28, 2012                                          10
              Exam Room - December 28, 2012                                          11
              Group Treatment Room - December 13, 2012                               12
              Office Space - December 28, 2012                                       13
              Office Space - December 13, 2012                                       14
              Pharmacy - December 13, 2012                                           15

Exhibit 3     Photographs depicting construction of California Health Care
              Facility.

              Housing Units - December 10, 2012                                      17
              Construction - August 1, 2012                                          18
              Construction - August 1, 2012                                          19
              Construction - December 11, 2012                                       20
              Construction - December 11, 2012                                       21

Exhibit 4     Photographs depicting construction of DeWitt Nelson Correctional
              Annex.

              Aerial View - November 2012                                            23
              Construction - December 18, 2012                                       24

Exhibit 5     Photographs depicting construction of California Medical Facility
              Enhanced Outpatient Program treatment and office space.

              Treatment Space - December 14, 2012                                    26
              Treatment Space - December 14, 2012                                    27
              Treatment Space - December 14, 2012                                    28
              Group Treatment Room - December 14, 2012                               29
                                                 1
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Exhibit No.   Description                                                            Bates No.

              Reception Desk - December 14, 2012                                     30
              Recreational Therapy - December 14, 2012                               31
              Treatment Space Corridor - December 14, 2012                           32
              Interview Room - December 14, 2012                                     33
              Interdisciplinary Treatment Team Room - December 14, 2012              34
              Group Treatment Room - December 14, 2012                               35
              Treatment Space Exterior - December 11, 2012                           36

Exhibit 6     Photographs depicting California Medical Facility Intermediate
              Care Facility.

              Exterior - November 22, 2011                                           38
              D-Wing - December 14, 2012                                             39
              Bed - February 9, 2012                                                 40
              Nurses' Station - December 14, 2012                                    41
              Dining Room - December 14, 2012                                        42
              Exam Room - December 14, 2012                                          43

Exhibit 7     Photographs depicting California Medical Facility Mental Health
              Crisis Bed Unit.

              Bed - December 14, 2012                                                45
              Hallway and Nurses’ Station - December 14, 2012                        46
              Exam Room - December 14, 2012                                          47

Exhibit 8     Photographs depicting Salinas Valley State Prison 64-bed
              Intermediate Care Facility.

              Hallway - March 23, 2010                                               49
              Bed - January 7, 2010                                                  50
              Group Room - March 23, 2010                                            51

Exhibit 9     Photographs depicting treatment and office space for Enhanced
              Outpatient Program at Mule Creek State Prison.

              Treatment Space - December 17, 2012                                    53
              Office - December 17, 2012                                             54
              Conference Room - December 17, 2012                                    55

Exhibit 10    Photographs depicting construction of 50-bed Mental Health Crisis
              Bed unit at California Men’s Colony.

              Exterior Construction - No Date Tag                                    57
              Corridor Construction - October 26, 2012                               58

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Exhibit No.   Description                                                            Bates No.


Exhibit 11    Photographs depicting 45-bed Psychiatric Inpatient Program at
              California Institution for Women.

              Exterior - June 29, 2012                                               60
              Housing Cell - No Date Tag                                             61
              Exam Room - May 30, 2012                                               62
              Hallway - July 31, 2012                                                63
              Group Treatment Room - April 10, 2012                                  64
              Nurses Station - April 10, 2012                                        65

Exhibit 12    Photographs depicting 20-bed Psychiatric Services Unit at California
              Institution for Women.

              Hallway - January 4, 2011                                              67
              Bed - January 4, 2011                                                  68

Exhibit 13    Photographs depicting treatment and office space for the Enhanced
              Outpatient Program at California State Prison, Los Angeles County.

              Treatment Hallway - June 13, 2012                                      70
              Conference Room - November 14, 2012                                    71
              Therapy Room - November 14, 2012                                       72

Exhibit 14    Photographs depicting construction of treatment and office space for
              the Enhanced Outpatient Program Administrative Segregation Unit
              at California State Prison, Corcoran.

              Construction - September 27, 2012                                      74
              Construction - September 27, 2012                                      75

Exhibit 15    Photographs depicting construction of housing, treatment, and office
              space for the 128 Psychiatric Services Unit inmates at California
              State Prison, Sacramento.

              Construction - October 29, 2012                                        77
              Construction - December 11, 2012                                       78




                                                 3
